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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                   CHARLOTTESVILLE DIVISION


    BABY DOE, et al.,                          )
                                               )
                      Plaintiffs,              )
                                               )
    v.                                         ) Case No. 3:22-cv-00049-NKM-JCH
                                               )
    JOSHUA MAST, et al.,                       )
                                               )
                      Defendants,              )
                                               )
    and                                        )
                                               )
    UNITED STATES SECRETARY OF                 )
    STATE ANTONY BLINKEN, et al.,              )
                                               )
                      Nominal Defendants.      )
                                               )


                         [PROPOSED] THIRD AMENDED PRETRIAL ORDER

           Having considered the Joint Motion to Modify Amended Pretrial Order, the Court hereby

   ORDERS that the Second Amended Pretrial Order (ECF No. 148) is modified as follows:

    Event                                      Revised Deadline
    Plaintiffs’ Initial Expert Disclosures     September 27, 2023
    Defendants’ Initial Expert Disclosures     October 12, 2023
    Deadline to Complete Discovery             90 days before trial date
    Deadline to File Dispositive Motions       75 days before trial date
    Deadline for Hearing Dispositive Motions   45 days before trial date
    Trial                                      Feb. 5-16, 2024

           It is so ORDERED.

           Entered: _________, 2023

                                               _______________________________
                                               Joel C. Hoppe
                                               United States Magistrate Judge




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